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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION


 UNITED STATES OF AMERICA                            )
                                                     )
        Plaintiff,                                   )
                                                     )
 v.                                                  )      Case No.: 1:18-cr-10074-1-STA
                                                     )
 BRANDON WALLACE,                                    )
                                                     )
        Defendant.                                   )


                           ORDER ON MOTION TO RESET HEARING
                     ON MOTION TO WITHDRAW AND NOTICE OF RESETTING


        THIS cause came on to be heard before the Honorable S. Thomas Anderson, Chief

 United States District Judge for the Western District of Tennessee upon Motion of the

 Defendant to reset Hearing on Motion to Withdraw.

        It is THEREFORE ORDERED, ADJUDGED, and DECREED that the Hearing on Motion

 to Withdraw has been rescheduled to Friday, May 10, 2019 at 9:00a.m.

        This the 5th day of April, 2019.


                                                            s/S. Thomas Anderson
                                                            Honorable S. Thomas Anderson
                                                            Chief United States District Judge
